Case 19-80649-JJG-13          Doc 14    Filed 11/21/19    EOD 11/21/19 14:56:41          Pg 1 of 2



                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

 In Re:                                           Case No. 19-80649-JJG-13

 Paula Rose Hussion                               Chapter 13

 Debtor.                                          Judge Jeffrey J. Graham

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of Franklin

Credit Management Corporation as Servicer for Quarry Mortgage Trust I, in the above captioned

proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
Case 19-80649-JJG-13         Doc 14     Filed 11/21/19     EOD 11/21/19 14:56:41        Pg 2 of 2




                                CERTIFICATE OF SERVICE

I certify that on November 21, 2019, a copy of the foregoing Notice was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       John E. Himes, Debtor’s Counsel
       himeslawoffice@aol.com

       Donald L. Decker, Trustee
       ecfmail@decker13trustee.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on November 21, 2019, a copy of the foregoing Notice was mailed by first-
class U.S. Mail, postage prepaid and properly addressed to the following:

       Paula Rose Hussion, Debtor
       7861 Mason Street
       Dugger, IN 47848

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
